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                   9                         UNITED STATES DISTRICT COURT
                  10                      SOUTHERN DISTRICT OF CALIFORNIA
                  11 CALIFORNIA TRUCKING                          Case No. 3:18-cv-02458-BEN-BLM
                     ASSOCIATION, RAVINDER SINGH,
                  12 and THOMAS ODOM,                             MEMORANDUM OF POINTS AND
                                                                  AUTHORITIES IN SUPPORT OF
                  13               Plaintiffs,                    PLAINTIFFS’ MOTION FOR
                                                                  PRELIMINARY INJUNCTION
                  14         v.
                                                                  Date:        December 30, 2019
                  15
                       XAVIER BECERRA, in his official            Time:        10:30 a.m.
                       capacity as the Attorney General of the    Place:       Courtroom 5A
                  16
                       State of California; JULIE SU, in her
                  17   official capacity as Secretary of the      Complaint Filed: October 25, 2018
                       California Labor Workforce and             Trial Date:       None
                  18   Development Agency; ANDRE                  District Judge: Hon. Roger T. Benitez
                       SCHOORL, in his official capacity as                         Courtroom 5A, 221 W.
                  19   the Acting Director of the Department                        Broadway, San Diego
                       of Industrial Relations of the State of    Magistrate Judge: Hon. Barbara L. Major
                  20   California; and LILIA GARCIA-                                11th Floor, 333 W.
                       BROWER, in her official capacity as                          Broadway, San Diego
                  21   Labor Commissioner of the State of
                       California, Division of Labor Standards
                  22   Enforcement, PATRICK HENNING, in
                       his official capacity as the Director of
                  23   the Employment Development
                       Department,
                  24
                                   Defendants.
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                   1   I.    INTRODUCTION
                   2         Motor carriers have relied for decades on independent owner-operators to
                   3   transport cargo and other property throughout the United States. This critical,
                   4   efficient, and federally recognized component of interstate commerce is threatened by
                   5   Assembly Bill 5 (“AB-5”), which becomes effective January 1, 2020.1 Because
                   6   drivers are not “outside the scope” of a licensed motor carrier’s business, AB-5
                   7   prohibits motor carriers from using independent contractor drivers. AB-5 mandates
                   8   that such drivers be treated as employees for purposes of the California Labor Code,
                   9   wage orders, and Unemployment Insurance Code, significantly impacting motor
                  10   carriers’ operations. AB-5 also imperils the livelihoods of independent owner-
                  11   operators, the thousands of small business owners who operate their own trucks and
                  12   who contract with motor carriers to transport property.
                  13         The Federal Aviation Administration Authorization Act (“FAAAA”)
                  14   categorically prohibits any state from “enact[ing] or enforc[ing] a law, regulation, or
                  15   other provision having the force and effect of law related to a price, route, or service
                  16   of any motor carrier . . . with respect to the transportation of property.” 49 U.S.C. §
                  17   14501(c)(1) (emphasis added). The FAAAA preempts AB-5 as applied to motor
                  18   carriers, both expressly, because AB-5 will significantly affect the prices, routes, and
                  19   services that motor carriers will offer their customers, and impliedly, because it will
                  20   frustrate Congress’ intent in enacting the FAAAA.
                  21         FAAAA preemption of AB-5’s blanket prohibition on motor carriers using
                  22   independent owner-operators to provide trucking services is clear. When a state
                  23   requires that motor carriers “transition . . . from independent-contractor drivers to
                  24   employees of each licensed motor carrier,” the law is “highly likely to be shown to be
                  25   preempted” and a preliminary injunction must be issued under binding precedent. Am.
                  26

                  27   1
                      AB-5 expressly codifies and supplants the ABC test set forth in the California
                     Supreme Court’s decision in Dynamex Operations West v. Superior Court, 4 Cal. 5th
                  28 903 (2018). See AB-5, § 2 (Lab. Code § 2750.3(a)(1)).
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                   1   Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046, 1049, 1056 (9th Cir.
                   2   2009) (“ATA”) (reversing district court’s denial of preliminary injunction).2
                   3         Further, California’s ABC test, as codified by AB-5, violates the Dormant
                   4   Commerce Clause. AB-5 exempts several in-state professions and industries from the
                   5   ABC test. The law imposes increased burdens on motor carriers engaged in interstate
                   6   commerce while disproportionately lowering the cost of doing business for intrastate
                   7   businesses. There is no legitimate justification for the disparate treatment.
                   8         Here, as in ATA, the enforcement of AB-5 to motor carriers should be enjoined.
                   9   Plaintiffs are highly likely to succeed on the merits. Both motor carriers and owner-
                  10   operators will suffer irreparable injury absent a preliminary injunction, and
                  11   Defendants will not suffer any harm by staying enforcement of an unconstitutional
                  12   statute. The relief Plaintiffs seek is limited. Plaintiffs seek to enjoin AB-5 as it applies
                  13   to motor carriers and the independent owner-operators only. The injunction will not
                  14   prevent the balance of AB-5 from taking effect.
                  15   II.   FACTUAL BACKGROUND
                  16         A.     History Of Deregulation Of The Trucking Industry.
                  17         In 1980, Congress passed the Motor Carrier Act (“MCA”), which deregulated
                  18   interstate trucking so the rates and services offered by licensed motor carriers would
                  19   be set by the market rather than by government regulation. 79 Stat. 793. In 1994, to
                  20   bolster deregulation, Congress included within the FAAAA a provision that expressly
                  21   preempts state regulation of motor carriers. 49 U.S.C. § 14501(c)(1).
                  22         The deregulated trucking industry has relied on the owner-operator model for
                  23   decades. Licensed motor carriers use independent contractors who own and operate
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                  26   The United States Department of Justice opined in ATA that an “attempt to shape
                     the labor forces of motor carriers” by interfering with their utilization of independent
                  27 contractors is precisely “the type of state economic regulation that Congress sought
                     to preempt with the FAAAA.” Brief for the United States of America as Amicus
                  28 Curiae in Supp. of Reversal, 2008 WL 5053995, at *8 (Oct. 21, 2008).
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                   1   their own trucks and transport property. Yadon Decl., ¶¶ 6-11.3 Developing this
                   2   system was an express goal of deregulation. When he signed the MCA, President
                   3   Carter stated he was “particularly pleased that the bill will . . . enhance business
                   4   opportunities for independent truckers.”4
                   5         B.     Independent Owner-Operators Are Integral And Essential To An
                   6                Efficient And Deregulated Trucking Industry.
                   7         Motor carriers offer many types of trucking services, including, among other
                   8   types, conventional trucking, the transport of hazardous materials, refrigerated
                   9   transportation, flatbed conveyance, intermodal container transport, long-haul shipping,
                  10   movement of oversized loads, and less-than-truckload shipping. Yadon Decl. ¶ 5.
                  11         The majority of motor carriers in California do not own trucks or employ
                  12   drivers. Rather, they contract with their customers to see that cargo is moved between
                  13   two points, often crossing state lines. To do that, motor carriers rely on independent
                  14   truckers (the owner-operators). Id. at ¶ 15; Husing Report p. 1.5
                  15         This owner-operator model is integral and essential to the trucking industry
                  16   providing effective and efficient services to shippers seeking to transport goods.
                  17   Demand for shipment of goods fluctuates depending on the season, domestic and
                  18   international demand, natural disasters, and other factors.6 Because demand for
                  19   services fluctuates, sometimes widely, motor carriers—even those who own trucks
                  20   that are driven by employees—need the ability to contract with owner-operators to
                  21   satisfy customer demand. The ability to contract with owner-operators enables motor
                  22   carriers to quickly scale up their operations in times of peak demand, to avoid idling
                  23
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                         The declarations of Shawn Yadon (“Yadon Decl.”), Thomas Odom (“Odom
                  24   Decl.”), Greg Stefflre (“Stefflre Decl.”), and John E. Husing, Ph.D. (“Husing Decl.”)
                       are filed concurrently with Plaintiffs’ Motion.
                  25   4
                         Motor Carrier Act of 1980: Statement on Signing S. 2245 Into Law, Pub. Papers of
                       Jimmy Carter, May 24-Sept. 26, 1980 at 1266 (emphasis added).
                  26   5
                         Attached to the Husing Declaration as Exhibit B.
                       6
                  27     For example, California’s sizable agricultural industry has much higher levels of
                       activity during the harvest months (April through October), than during the winter
                  28   months (December through March). Husing Report pp. 5-6.
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                   1   equipment and employees during periods of lesser demand, and to offer their
                   2   customers specialized trucking services at sustainable prices by avoiding costs
                   3   associated with purchasing and maintaining specialized equipment that is needed only
                   4   periodically. Yadon Decl. ¶¶ 8-10; Stefflre Decl. ¶ 27; Husing Report pp. 4-10.
                   5         The benefits of FAAAA-mandated deregulation accrue to motor carriers and
                   6   customers, and to owner-operators who typically work for themselves for a period of
                   7   time to grow their experience and reputation in the industry. Many owner-operators
                   8   invest in specialized equipment and obtain the skills to operate that equipment
                   9   efficiently. Owner-operators like plaintiff Thomas Odom decide which motor carriers
                  10   they will contract with, what loads to accept (often based on whether the rates are
                  11   favorable), what days to work, and how to perform the services (including the route to
                  12   take). Owner-operators also bid on jobs that require more than one truck, and then
                  13   provide those services through subcontractors or their own employee-drivers. Yadon
                  14   Decl. ¶¶ 12-14; Odom Decl. ¶ 9; Husing Report p. 1. “This freedom of choice is a core
                  15   characteristic of the independent owner-operator and it is what gives independent
                  16   owner-operators the chance to grow their business into greater prosperity, possibly
                  17   more trucks, more drivers, and even their own operating authority down the road.”7
                  18         C.     The Impact Of The ABC Test On The Trucking Industry.
                  19         Given the trucking industry’s substantial reliance on owner-operators, AB-5
                  20   will have significant effects on motor carriers’ services, routes, and prices.
                  21                1.     Impact On Services.
                  22         Until now, motor carriers could choose between providing services with
                  23   employee drivers or with independent owner-operators. No longer. The ABC
                  24   prohibits use of independent contractors. Thus, the ABC test directly affects services
                  25   “by eliminating one of the two primary ways in which these services have been
                  26
                       7
                      Douglas C. Grawe, Have Truck, Will Drive: The Trucking Industry and the Use of
                  27 Independent Owner-Operators Over Time, 35 Transp. L.J. 115, 127 (2008). For
                     example, plaintiff Thomas Odom built up a business from one truck to ten trucks,
                  28 and now again operates a single truck, which he owns. Odom Decl. ¶¶ 3-4, 8.
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                   1   provided.” Yadon Decl. ¶ 19.
                   2         AB-5 will also constrict services in other ways as motor carriers respond to
                   3   losing the owner-operator model. Some motor carriers will abandon California
                   4   altogether (id. at ¶ 20), as some already have done.8 Owner-operator Thomas Odom is
                   5   already experiencing economic hardship because of motor carriers refusing to contract
                   6   with California-based truckers. Odom Decl. ¶¶ 7-8, 11-13. Fewer motor carriers
                   7   means reduced competition, higher prices, and fewer services in the California market.
                   8         Some motor carriers will obtain just enough equipment and employee drivers to
                   9   meet the average demand for their particular type of trucking services. This will allow
                  10   the motor carrier to keep its employees and trucks mostly engaged, but leave it unable
                  11   to provide additional resources on short notice or deal with peak demand. This will
                  12   cause services to not be provided, e.g., growers in the Central Valley will face a
                  13   shortage of refrigerated trucks to preserve and transport perishable goods. Yadon
                  14   Decl. ¶ 21; Stefflre Decl. ¶ 27; Husing Report p. 6.
                  15         To continue providing the full panoply of services, a motor carrier would need
                  16   to acquire enough trucks and drivers to meet maximum demand. This is impossible,
                  17   since the motor carrier would incur huge costs idling drivers and trucks during periods
                  18   of lesser demand—costs that would either drive the motor carrier out of business
                  19   (further shrinking competition) or be passed on to customers (further increasing
                  20   prices). Yadon Decl. ¶ 22. Even still, the motor carrier could not provide specialized
                  21   equipment for one-off jobs. Id.
                  22         Any of these options results in the “significant inefficiencies, increased costs,
                  23   reduction of competition, inhibition of innovation and technology and curtail[ed]
                  24
                       8
                       This has occurred in response to Dynamex or in anticipation of AB-5 becoming
                  25 law. See, e.g., Todd Dills and James Jaillet, Swift Reportedly Part Of Flight From
                     Owner-Operator Leasing In California, Overdrive (Feb. 22, 2019), available at
                  26 https://www.overdriveonline.com/swift-reportedly-part-of-flight-from-owner-
                     operator-leasing-in-california/; Clarissa Hawes, Trucking Companies Move To Cut
                  27 Ties With Independent California Drivers As Labor Law Looms, Freight Waves
                     (Nov. 15, 2019), available at https://www.freightwaves.com/news/california-owner-
                  28 operators-weigh-options-as-ab5-deadline-looms.
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                   1   expansion of markets” the FAAAA was intended to eliminate. H.R. Rep. 103-677 at
                   2   p. 87 (1994) (Conf. Rep.), 1994 U.S.C.C.A.N. 1715, 1759; see Stefflre Decl. ¶ 29.
                   3                2.     Impact On Routes.
                   4         Requiring motor carriers to treat drivers as employees will also directly affect
                   5   the routes that motor carriers provide to the public for at least three distinct reasons.
                   6         First, motor carriers will be obliged to reconfigure routes to ensure that
                   7   employee drivers can park the trucks legally and safely to take the meal and rest
                   8   periods mandated by California law. Yadon Decl., ¶ 27; Stefflre Decl. ¶¶ 21-25;
                   9   Husing Report pp. 13-16. Second, motor carriers that contract with owner-operators
                  10   to provide interstate trucking services originating or terminating in other states will
                  11   need to reconfigure their routes to arrange for the transfer and movement of cargo by
                  12   employee drivers within California.9 Yadon Decl. ¶ 26; Husing Report p. 16. Third,
                  13   motor carriers will consolidate and may eliminate routes to reduce the higher costs of
                  14   using employee drivers. This will mean fewer routes, and those that remain will need
                  15   to offset, through increased efficiency and utilization, the decreased productivity,
                  16   greater fuel consumption, and higher labor and equipment costs from using
                  17   employee drivers.10 Yadon Decl. ¶ 25; Stefflre Decl. ¶ 23.
                  18                3.     Impact On Prices.
                  19         The prices that a motor carrier charges its customers will also be directly
                  20   impacted by prohibiting independent contractor owner-operators. Because a motor
                  21
                       9
                  22     Alternatively, motor carriers would need to treat independent contractor drivers as
                       employees but only while making deliveries in California. For example, despite
                  23   paying an owner-operator on a per-mile basis for driving throughout the United
                       States, a motor carrier would need to additionally reimburse that owner-operator for
                  24   any expenses incurred within California, separately pay for all hours worked, ensure
                       meal periods and rest breaks were taken, etc. Yadon Decl. ¶ 26.
                  25   10
                          The Federal Motor Carrier Safety Administration has recognized the impediments
                       that California’s regulations place on motor carriers, noting that the meal period and
                  26   rest break rules alone “impose significant and substantial costs on interstate
                       commerce] stemming from decreased productivity and administrative burden.”
                  27   California’s Meal and Rest Break Rules for Commercial Motor Vehicle Drivers;
                       Petition for Determination of Preemption, 83 Fed. Reg. 67,470, 67,479 (Dec. 28,
                  28   2018).
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                   1   carrier incurs significantly more expenses maintaining a fleet of trucks and employee
                   2   drivers than it does using individual owner-operators driving trucks they own,
                   3   forcing motor carriers to cease using owner-operators will materially increase motor
                   4   carriers’ costs. Stefflre Decl. ¶¶ 10-17; Husing Report pp. 16-18. Replacing owner-
                   5   operators with employee drivers would increase the costs to motor carriers by as
                   6   much as 150% or more. Stefflre Decl. ¶ 17; Husing Report p. 18. These costs will be
                   7   passed on to customers. For example, if costs associated with an employee-driver
                   8   model increased a motor carrier’s expenses by 150%, “the prices [it] would need to
                   9   charge customers for trucking services would also increase significantly.” Stefflre
                  10   Decl. ¶ 17; see also Husing Report p. 19.
                  11   III.   LEGAL STANDARD
                  12          “The purpose of a preliminary injunction is to preserve the status quo pending
                  13   a determination of the action on the merits.” Chalk v. U.S. District Court (Orange
                  14   Cty. Superin. of Schs.), 840 F.2d 701, 704 (9th Cir. 1998). To obtain such relief, the
                  15   moving party must show: (1) a likelihood of success on the merits; (2) a likelihood of
                  16   irreparable harm absent preliminary relief; (3) that the balance of equities tips in its
                  17   favor; and (4) that an injunction is in the public interest. ATA, 559 F.3d at 1052.
                  18   IV.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS
                  19          A preliminary injunction is necessary because Plaintiffs are highly likely to
                  20   show that the ABC test is preempted through: (1) the FAAAA; (2) implied
                  21   preemption; and (3) the Dormant Commerce Clause.
                  22          A.     The FAAAA’s Express Preemption Clause.
                  23          Congress passed the MCA in 1980, in part, to reduce and eliminate the
                  24   significant and inconsistent regulatory burdens that states had imposed on the motor-
                  25   carrier industry. In 1994, it bolstered the MCA by passing the FAAAA. Recognizing
                  26   that “[t]he sheer diversity” of state regulatory schemes” posed “a huge problem for
                  27   national and regional carriers attempting to conduct a standard way of doing
                  28   business,” the FAAAA was intended to eliminate the patchwork of state regulations
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                   1   that had bogged down the motor carrier industry. See H.R. Rep. 103-677, at p. 87,
                   2   1994 U.S.C.C.A.N. 1715, 1759. Congress’ motivation included a 1993 California bill
                   3   that discriminated against motor carriers “using a large proportion of owner-operators
                   4   instead of company employees.” Id.
                   5         Congress declared that state regulation of the trucking industry “imposed an
                   6   unreasonable burden on interstate commerce” and “impeded the free flow of trade,
                   7   traffic, and transportation of interstate commerce.” FAAAA, Pub. L. No. 103-305, §
                   8   601(a)(1)(A)-(B), 108 Stat. 1569, 1605. To achieve its goal of replacing the patchwork
                   9   of state and local regulations with one federal standard for motor carriers, Congress
                  10   included within the FAAAA an express preemption clause. That clause prohibits
                  11   states from “enact[ing] or enforce[ing] a law, regulation, or other provision having the
                  12   force and effect of law related to a price, route, or service of any motor carrier . . .
                  13   with respect to the transportation of property.” 49 U.S.C. § 14501(c)(1).
                  14         The FAAAA’s preemption clause was intentionally broad. By decreeing that “a
                  15   State . . . may not enact or enforce a law . . . related to a price, route, or service of any
                  16   motor carrier,” Congress “express[ed] a broad pre-emptive purpose” because the
                  17   phrase “related to” is “deliberately expansive” and “conspicuous for its breadth.”
                  18   Morales v. Trans World Airlines, Inc., 504 U.S. 374, 383−384 (1992) (interpreting
                  19   identical preemption language in Airline Deregulation Act of 1978 (“ADA”)). Thus,
                  20   the FAAAA preempts any state law that affects motor carrier rates in anything other
                  21   than a “tenuous, remote, or peripheral [] manner.” Id. at 390. A law or regulation is
                  22   “related to” prices, routes, or services if it has any effect on them—regardless of
                  23   whether the “effect is direct or indirect.” Dilts v. Penske Logistics, LLC, 769 F.3d 637,
                  24   644-645 (9th Cir. 2014) (emphasis added); see also Rowe v. N.H. Motor Transp.
                  25   Ass’n, 552 U.S. 364 (2008).
                  26         FAAAA preemption “occurs at least where state laws have a significant impact
                  27   related to Congress’ deregulatory and pre-emption-related objectives,” which include
                  28   ensuring that motor carriers’ rates “reflect maximum reliance on competitive market
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                   1   forces, thereby stimulating efficiency, innovation, and low prices, as well as variety
                   2   and quality.” Rowe, 552 U.S. at 371.
                   3         B.     The ABC Test Affects Motor Carrier Prices, Routes, And Services.
                   4         The impact of California’s ABC test on motor carriers is profound and direct.
                   5   Pursuant to Prong B, a worker is considered an employee, not an independent
                   6   contractor, unless the hiring entity establishes “that the person performs work that is
                   7   outside the usual course of the hiring entity’s business.” AB-5, § 2 (Lab. Code §
                   8   2750.3(a)(1)(B)). Thus, the ABC test plainly and unambiguously prohibits the use of
                   9   independent contractor owner-operators, “because, under the ‘ABC’ test, a worker
                  10   providing a service within a motor carrier’s course of business will never be
                  11   considered an independent contractor.” Cal. Trucking Ass’n v. Su, 903 F.3d 953, 964
                  12   (9th Cir. 2018) (“Su”).
                  13         As numerous courts have found, the “mandate” imposed by Prong B is
                  14   preempted by the FAAAA, since it forces motor carriers to utilize only employees to
                  15   transport cargo, significantly affecting the services that a motor carrier provides, the
                  16   prices of those services, and the routes through which services are accomplished.
                  17                1.     The FAAAA Preempts Prong B Because It Prohibits Motor
                  18                       Carriers From Using Independent Contractors.
                  19         Before Dynamex, no California court had applied an ABC test to distinguish
                  20   between employees and independent contractors for purposes of California labor
                  21   law. In adopting a new test, the California Supreme Court, and now the Legislature,
                  22   imported “the Massachusetts version of the ABC test” which “permits the hiring
                  23   entity to satisfy part B only if it establishes that the work is outside the usual course
                  24   of the business of the hiring entity.” Dynamex, 4 Cal.5th at 956 n.23.
                  25         Federal Circuit Courts agree that the version of the ABC test adopted in AB-5
                  26   is preempted by the FAAAA, because it effectively dictates that a motor carrier’s
                  27   services cannot be performed by independent contractors, which leads to both direct
                  28   and indirect effects on motor carrier prices, routes, and services. In Schwann v.
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                   1   FedEx Ground Package System, Inc., the First Circuit held that Prong B of
                   2   Massachusetts’ ABC test relates to routes and services because it “requires a court to
                   3   . . . mandate that any services deemed ‘usual’ to” a motor carrier’s “course of
                   4   business be performed by an employee. Such an application of state law poses a
                   5   serious potential impediment to the achievement of the FAAAA’s objectives because
                   6   a court, rather than the market participant, would ultimately determine what services
                   7   that company provides and how it chooses to provide them.” 813 F.3d 429, 438 (1st
                   8   Cir. 2016). The court explained that Prong B’s mandated employee relationship
                   9   necessarily affects routes and services, thus triggering FAAAA preemption:
                  10         [B]ecause Prong 2 would mandate that FedEx classify these individual
                  11
                             contractors as employees, FedEx would be required to reimburse them for
                             business-related expenses. The logical effect of this requirement would
                  12
                             thus preclude FedEx from providing for first-and-last mile pick-up and
                             delivery services through an independent person who bears the economic
                  13
                             risk associated with any inefficiencies in performance. This regulatory
                             prohibition would also logically be expected to have a significant impact
                  14
                             on the actual routes followed for the pick-up and delivery of packages. . .
                             . It is reasonable to conclude that employees would have a different array
                  15
                             of incentives that could render their selection of routes less efficient,
                             undercutting one of Congress’s express goals in crafting an express
                  16
                             preemption proviso.

                  17   Id. at 439 (emphases added); see also Mass. Delivery Ass’n v. Healey, 821 F.3d 187,
                  18   193 (1st Cir. 2016) (holding that application of Massachusetts’ Prong B would
                  19   necessarily “deprive [the motor carrier] of its choice of method of providing for
                  20   delivery services and incentivizing the persons providing those services”).
                  21         Like the First Circuit, the Massachusetts Supreme Judicial Court, the state’s
                  22   highest court, agrees that its version of the ABC test is preempted by the FAAAA:
                  23   Prong B, “in essence, requires that motor carriers providing delivery services . . . use
                  24   employees rather than independent contractors to deliver those services. As a result,
                  25   motor carriers are compelled to adopt a different manner of providing services from
                  26   what they otherwise might choose because prong two dictates the type of worker that
                  27   will provide the services. This likely also would have a significant, if indirect, impact
                  28   on motor carriers’ services by raising the costs of providing those services.”
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                   1   Chambers v. RDI Logistics, Inc., 476 Mass. 95, 102-103 (2016).
                   2         In Su, the Ninth Circuit likewise recognized the “obvious proposition that an
                   3   ‘all or nothing’ rule requiring services be performed by certain types of employee
                   4   drivers . . . [is] likely preempted” by the FAAAA. Su, 903 F.3d at 964 (emphasis
                   5   added). There, the court distinguished between the traditional Borello worker
                   6   classification test, which it held is not preempted, and the ABC test, which it strongly
                   7   suggested would be preempted. The court explained that “the ‘ABC’ test may
                   8   effectively compel a motor carrier to use employees for certain services because,
                   9   under the ‘ABC’ test, a worker providing a service within a motor carrier’s course of
                  10   business will never be considered an independent contractor.” Id. The Ninth Circuit’s
                  11   suggestion that the ABC test is preempted by the FAAAA follows its ATA decision,
                  12   in which it noted that plans proposed by the Los Angeles-area ports to prohibit motor
                  13   carriers from using independent contractors were “highly likely to be shown to be
                  14   preempted” by the FAAAA. ATA, 559 F.3d at 1056 (emphasis added).
                  15         The Third Circuit’s recent holding that New Jersey’s version of the ABC test is
                  16   not preempted by the FAAAA reinforces the conclusion that the California/
                  17   Massachusetts version is preempted. In Bedoya v. American Eagle Express Inc., the
                  18   Third Circuit determined that New Jersey’s statutory ABC test is not preempted
                  19   precisely because of its significant differences from the Massachusetts test, which
                  20   render it less prone to force motor carriers to categorically abandon a business model
                  21   of utilizing independent contractors. 914 F.3d 812, 824 (3d Cir. 2019). Specifically,
                  22   Prong B of the New Jersey version of the ABC test provides that a worker is an
                  23   employee unless she performs work “outside the [employer’s] usual course of
                  24   business . . . or [performs such service] outside of all the places of business of [the
                  25   employer].” Id. (quoting N.J. Stat. Ann. § 43:21-19(i)(6)(B)) (emphasis added).
                  26         The Bedoya court found the “or” clause critical to its determination. Because
                  27   there is an “alternative method for reaching independent contractor status—that is, by
                  28   demonstrating that the worker provides services outside of the putative employer’s
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                   1   ‘places of business,’” the New Jersey test is “unlike the preempted Massachusetts law
                   2   at issue in Schwann.” 914 F.3d at 824.
                   3         Prong B of California’s test is identical to the preempted Massachusetts test
                   4   because it does not provide for any alternative means of allowing use of an
                   5   independent contractor driver. Dynamex, 4 Cal. 5th at 964; AB-5, § 2 (Lab. Code §
                   6   2750.3(a)(1)(B)). Both Dynamex and AB-5 prohibit use of independent contractors as
                   7   drivers. The First Circuit’s decisions in Schwann and Healy, the Massachusetts
                   8   Supreme Court’s holding in Chambers, and the Ninth Circuit’s guidance in Su and
                   9   ATA support preemption. So does the distinction noted in Bedoya.
                  10         Recognizing this, several federal district courts in California have followed
                  11   Schwann’s lead in holding that Prong B of California’s ABC test is preempted. In
                  12   Alvarez v. XPO Logistics Cartage LLC, a Central District of California court found
                  13   that applying Prong B “would require a court to look at a motor carrier’s service,
                  14   determine that the service is outside the carrier’s usual course of business, and then
                  15   bar the carrier from using workers as independent contractors to perform that service,”
                  16   which “pose[s] a serious potential impediment to the FAAAA’s objectives.” Alvarez
                  17   v. XPO Logistics Cartage LLC, 2018 WL 6271965, *4 (C.D. Cal. Nov. 15, 2018)
                  18   (quotations and citation omitted). The court adopted the Ninth Circuit’s reasoning in
                  19   Su—that California’s “‘ABC test may effectively compel a motor carrier to use
                  20   employees for certain services because, under the ABC test, a worker providing a
                  21   service within an employer’s usual course of business will never be considered an
                  22   independent contractor.’”11 Id. at *5. Likewise, a judge in the Northern District of
                  23
                       11
                         A judge in the Eastern District of California came to a contrary conclusion in W.
                  24   States Trucking Ass’n v. Schoorl, 377 F. Supp. 3d 1056 (E.D. Cal. 2019). The court’s
                       decision, however, dismissed Schwann out of hand as out-of-jurisdiction authority,
                  25   despite the fact that the First Circuit there applied U.S. Supreme Court precedent to a
                       law that was substantively identical to California’s ABC test. The court purported to
                  26   rely on Su, which held that the multi-factor Borello test, which California had used to
                       distinguish employees from independent contractors prior to Dynamex, was not
                  27   preempted. The Eastern District court’s analysis was faulty, though, because Su
                       purposefully limited its holding to the specific nature of the Borello test, and in fact
                  28   noted that the analysis under California’s ABC test would likely lead to a contrary
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                   1   California has held that “application of Part B would require carriers to classify all
                   2   workers who performed trucking work as employees, rather than independent
                   3   contractors. In light of Su, that is impermissible.” Valadez v. CSX Intermodal
                   4   Terminals, Inc., 2019 WL 1975460, *8 (N.D. Cal. Mar. 15, 2019).
                   5         Reviewing the above authorities, a third district court concluded that:
                             Su, [ATA], and Schwann collectively establish that the FAAAA
                   6         preempts a state law that categorically requires a motor carrier to hire
                             employees—and not independent contractors—as drivers. Here, the B
                   7         prong of Dynamex’s ABC test would require [the motor carrier] to
                             reclassify [an independent-contractor driver] as an employee for the
                   8         purposes of California’s wage orders (which regulate, inter alia,
                             minimum wages, maximum hours, and meal and rest breaks) because [a
                   9         driver] performs work that is in the usual course of [the motor carrier’s]
                             business (i.e., transporting property).
                  10

                  11   B&O Logistics, Inc. v. Cho, 2019 WL 2879876, at *3 (C.D. Cal. Apr. 15, 2019).
                  12         This Court should reach the same conclusion. As discussed in Alvarez,
                  13   Valadez, and B&O Logistics, California cannot adopt a test mandating that motor
                  14   carriers treat all drivers as employees, thereby prohibiting motor carriers from
                  15 contracting with owner-operators.
                  16              2.    Prong B Of California’s ABC Test Is Preempted Whether Or
                  17
                                        Not It Is A “Law of General Applicability” (And It Is Not).

                  18         The State will likely argue that the ABC test is a “generally applicable” law not
                  19   subject to preemption by the FAAAA. Dilts, 769 F.3d at 644. That argument is
                  20   unpersuasive for at least two reasons: (1) AB-5 is not a law of general applicability
                  21   and (2) even laws of general applicability are susceptible to preemption.
                  22         First, California’s ABC test is not a law of general applicability. AB-5 itself
                  23   exempts from application of the ABC test over a dozen specific professions. For
                  24   instance, AB-5 exempts from the ABC test: construction contractors, freelance
                  25   writers, fine artists, grant writers, graphic designers, podiatrists, doctors, dentists,
                  26
                     result. Su, 903 F.3d at 964. Finally, the court dismissed the preemption claim at the
                  27 pleadings stage, and without giving the plaintiffs the opportunity to present—as
                     Plaintiffs have done here—evidence illustrating the impact that the ABC test will have
                  28 on “prices, routes, or services” so as to justify FAAAA preemption.
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                   1   lawyers, architects, accountants, engineers, insurance agents, investment advisers,
                   2   hairstylists, barbers, and estheticians. See AB 5, § 2(b)-(h).12
                   3         The legislative history and text of AB-5—including the comments of its
                   4   sponsor and its narrowly-drafted exemption for construction trucking only—
                   5   demonstrate the opposite of a generally applicable law. The ABC test as applied by
                   6   AB-5 affirmatively targets the motor-carrier industry specifically. The author of AB-5
                   7   confirmed that AB-5 seeks to eliminate longstanding relationships between motor
                   8   carriers and owner-operators. See, e.g., Remarks of Assembly Member Lorena
                   9   Gonzalez, Assembly Floor Session, at 1:08:20-1:08:30 (Sept. 11, 2019) (“And let me
                  10   talk for one minute about trucking . . . . We are [] getting rid of an outdated broker
                  11   model that allows companies to basically make money and set rates for people that
                  12   they called independent contractors . . . .”); AB-5, § 2 (Lab. Code § 2750.3(e)(8))
                  13   (exempting construction trucking businesses but not other motor carriers from ABC
                  14   test).13 Assembly Member Gonzalez even boasts that AB-5 seeks to “cure” the
                  15   perceived evils resulting from federal deregulation, including the trucking industry’s
                  16   “outdated broker model” and use of owner-operators. While the California legislature
                  17   may view state prohibition of owner-operators as good public policy, it is contrary to
                  18   what Congress intended when it enacted the FAAAA and AB-5 is therefore “highly
                  19   likely to be shown to be preempted.” ATA, 559 F.3d at 1056 (addressing proposed rule
                  20   prohibiting the use of independent contractors).
                  21         And second, even if the Court were inclined to conduct a “general applicability”
                  22   analysis, that does not change the outcome. The Supremacy Clause does not allow
                  23

                  24
                       12
                        The other outlier case finding California’s ABC test not preempted by the
                  25 FAAAA, Henry v. Central Freight Lines, Inc., was wrongly decided and is
                     distinguishable on these grounds. 2019 WL 2465330 (E.D. Cal. June 13, 2019).
                  26 Specifically, the court in Henry concluded that the ABC test established in Dynamex
                     was a “general classification test.” Id. at *7. This logic does not apply to the ABC
                  27 test codified through AB-5, with its more than twenty enumerated exceptions.
                     13
                        Available at https://www.assembly.ca.gov/media/assembly-floor-session-
                  28 20190911/video.
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                   1   states to supersede federal law if they do so “generally.” See U.S. Const., art. VI, § 2
                   2   (“This Constitution, and the laws of the United States . . . shall be the supreme law of
                   3   the land.”). Faced with the preemption clause of the ADA,14 the Supreme Court
                   4   rejected the notion that “the ADA imposes no constraints on laws of general
                   5   applicability,” finding “irrational” the idea that “state impairment of the federal
                   6   scheme should be deemed acceptable so long as it is effected by the particularized
                   7   application of a general statute.” Morales, 504 U.S. at 386; see also Am. Airlines, Inc.
                   8   v. Wolens, 513 U.S. 219, 227–28 (1995) (finding that Illinois statute of general
                   9   applicability was preempted by the ADA).
                  10         The Ninth Circuit is in accord, recognizing that a law’s “general applicability is
                  11   not dispositive” of the preemption question under the FAAAA. Su, 903 F.3d at 966.
                  12   “What matters is . . . where in the chain of a motor carriers’ business [the state] is
                  13   acting to compel a certain result (e.g., consumer or workforce) and what result it is
                  14   compelling (e.g., a certain wage, non-discrimination, a specific system of delivery, a
                  15   specific person to perform the delivery).” Id. Because AB-5 “require[es] services be
                  16   performed by certain types of employee drivers” and is “motivated by a State’s own . .
                  17   . goals” (id. at 964) to eliminate what it deems an outdated broker model, it is
                  18   preempted even if is a law of “general applicability.”
                  19                3.     The Effect Of The ABC Test On Prices, Routes, And Services.
                  20         The FAAAA preempts state laws having a significant impact on motor
                  21   carriers’ “prices, routes, or services.” 49 U.S.C. § 14501(c)(1). Because the express
                  22   preemption clause is worded in the disjunctive, Plaintiffs need show only a
                  23   likelihood that the ABC test will have a more than tenuous impact on motor carriers’
                  24   “services” or “routes” or “prices.” Here, Plaintiffs are likely to establish all three.
                  25

                  26   14
                       The FAAAA’s preemption provision was modeled after—and is interpreted
                     identically to—the ADA’s preemption provision. See Rowe, 552 U.S. at 370 (when
                  27 drafting § 14501(c), Congress “copied the language of the air-carrier pre-emption
                     provision of the [ADA]”); Schwann, 813 F.3d at 436 (“FAAAA preemption is . . .
                  28 informed by interpretations of ADA preemption”); H.R. Conf. Rep. 83.
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                   1                       (a)    Plaintiffs Are Likely To Prevail Based On The Deleterious
                   2                              Effect Of The ABC Test Alone.
                   3         Courts have regularly concluded that § 14501(c)(1) preempts any state
                   4   requirement mandating the use of employee drivers. That is because “motor carriers
                   5   are compelled to adopt a different manner of providing services from what they
                   6   otherwise might choose . . . .” Chambers, 476 Mass. at 102-103 (emphasis added).
                   7   Because of the “logical effect” of the ABC test on prices, routes, and services, the
                   8   “impact need not b[e] proven by empirical evidence.” Schwann, 813 F.3d at 437.
                   9         For example, after Michigan passed a provision requiring that motor carriers
                  10   use employees “at all times” when operating vehicles in certain situations, the
                  11   impact on services was “clear” to a state appellate court:
                  12
                             [C]arriers operating in interstate commerce and using independent
                  13         contractors as drivers have to make special arrangements to operate
                             intrastate traffic in Michigan. A carrier handling traffic from a point
                  14         outside Michigan to a point inside Michigan could not use the same
                             vehicle (or at least not the same independent contractor as a driver) to
                  15         transport property wholly within Michigan as part of a return trip. Thus
                             it is clear that [the statute] affects routes and services and most
                  16         probably affects prices.

                  17   In re Fed. Preemption of Provisions of the Motor Carrier Act, 223 Mich. App. 288,
                  18   308-309 (Mich. Ct. App. 1997) (emphasis added).
                  19         The Ninth Circuit has observed it “can hardly be doubted” that requiring
                  20   motor carriers to use employees instead of independent-contractor drivers “relate[s]
                  21   to prices, routes or services of motor carriers.” ATA, 559 F.3d at 1053. Other courts
                  22   have found the ABC test preempted as a matter of law. See, e.g., Alvarez, 2018 WL
                  23   6271965, at *5 (granting motion for judgment on the pleadings); Valadez, 2019 WL
                  24   1975460, at *8 (finding ABC test was preempted at the summary judgment stage).
                  25         Thus, the ABC test necessarily affects motor carriers’ operations, including
                  26   the manner in which they provide services. Based on the “logical effect” of the ABC
                  27   test alone, Plaintiffs are entitled to a preliminary injunction.
                  28
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                   1                       (b)   Plaintiffs Have Shown The Impact Of The ABC Test On
                   2                             Prices, Routes, And Services.
                   3         The evidence accompanying this Motion establishes the negative effects
                   4   that adoption of the ABC test will have—and is already having—on motor
                   5   carriers’ operations. While not intended to be exhaustive, the evidence at this
                   6   preliminary stage illustrates the impact on prices, routes, and services:
                   7         • Services: AB-5 will significantly affect the services that motor carriers
                   8   provide to their customers. If motor carriers cannot use independent contractors to
                   9   provide trucking services, they cannot provide the services of certain trucks, trailers,
                  10   drivers, and equipment, because it is cost-prohibitive for motor carriers to acquire
                  11   every possible type of truck, trailer, and equipment that might be needed, especially
                  12   those that are only utilized occasionally. Instead, motor carriers will need to scale
                  13   back their service offerings to only those trucks, trailers, drivers, equipment, and
                  14   skilled drivers for which there is regular demand. Yadon Decl. ¶ 23; Stefflre Decl. ¶
                  15   28; Husing Report pp. 5-9.
                  16         • Routes: Effectively prohibiting motor carriers from contracting with
                  17   individual owner-operators directly affects the routes that a motor carrier must use
                  18   when providing services to its customers. Because of the ABC test, motor carriers
                  19   will be required to reconfigure routes to ensure that drivers can legally and safely
                  20   park the trucks to take the meal and rest periods mandated under California law; and
                  21   they must reconfigure and possibly consolidate routes to minimize the effect of the
                  22   higher fixed costs associated with owning vehicles and using employee drivers.
                  23   Yadon Decl. ¶¶ 25-27; Stefflre Decl. ¶¶ 21-24; Husing Report pp. 13-16.
                  24         • Prices: Because a motor carrier incurs significantly more expenses
                  25   maintaining a fleet of trucks and employee drivers than it does using individual
                  26   owner-operators driving trucks that they own, forcing motor carriers to hire
                  27   employees rather than contracting with independent contractors will materially
                  28   increase motor carriers’ costs. Further, because the demand for trucking services is
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                   1   relatively inelastic, “[i]f motor carriers are required to exclusively provide services
                   2   using employee drivers, the associated costs will be passed on directly to customers.
                   3   . . .” Stefflre Decl. ¶ 17; Yadon Decl. ¶ 39; Husing Report pp. 16-19.
                   4                4.     AB-5’s Harmful Effect Are Not Mitigated By The “Business-
                   5                       To-Business” Exception.
                   6         The State may argue that the ABC test does not bar all independent
                   7   contractors, since there is an exception for a “bona fide business-to-business
                   8   contracting relationship” (the “B-to-B” exception). AB-5, § 2 (Lab. Code §
                   9   2750.3(e)). The B-to-B exception is a red herring. The exception was not intended to
                  10   apply to motor carriers and does not obviate AB-5’s impact on interstate commerce.
                  11         First, the B-to-B exception requires an independent contractor to satisfy
                  12   twelve separate criteria, several of which cannot be met by motor carriers. AB-5, § 2
                  13   (Lab. Code § 2750.3(e)(1)(A)-(L)); Yadon Decl., ¶¶ 28-35.15
                  14         Second, the B-to-B exception is not available to motor carriers which contract
                  15   with individual owner-operators. The exception “does not apply to an individual
                  16   worker . . . who performs labor or services for a contracting business.” AB-5, § 2
                  17   (Lab. Code § 2750.3(e)(2)).
                  18         Third, Assembly Member Gonzalez’s comments that AB-5 would “get[] rid of
                  19   an outdated broker model” confirm that motor carriers cannot rely on the B-to-B
                  20   exception.16 This is reinforced by the twelve criteria, including that the owner-
                  21
                       15
                          For example, the B-to-B exception includes requirements that a contractor be free
                  22   from “control” and “actually contracts with other businesses to provide the same or
                       similar services and maintains a clientele without restriction from the hiring entity.”
                  23   AB-5, § 2(e)(1)(A) and (G). Such criteria are all but certain to conflict with federal
                       safety regulation requirements. In complying with the Federal Motor Carrier Safety
                  24   Administration Regulations (“FMCSRs”) regarding equipment and driver safety, a
                       motor carrier must exercise control to the extent the regulations command and the
                  25   driver must accept such control. 49 C.F.R. § 390.11. This includes control related to
                       licensure, equipment, registration, substance abuse, and hours of service. 49 C.F.R. §
                  26   350 et seq. In short, federal law expressly permits—and in fact requires—for safety
                       purposes that a motor carrier exercise a degree of control, even under circumstances
                  27   in which the owner-operator uses that vehicle to provide services to another motor
                       carrier.
                  28   16
                          See also Yadon Decl. ¶¶ 16-18 (no “exemption for the trucking industry was
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                   1   operator “provid[e] services directly to the contracting business rather than to
                   2   customers of the contracting business.” AB-5, § 2 (Lab. Code § 2750.3(e)(1)(B))
                   3   (emphasis added). Under existing law, owner-operators can provide services directly
                   4   to customers, including situations where a motor carrier arranges for an owner-
                   5   operator to pick up or deliver goods at a customer’s location. Thus, the express
                   6   language of the B-to-B exception restricts the “services” that a motor carrier can
                   7   “provide” with an owner-operator.
                   8         Ultimately, the B-to-B exception—with its many strictures—is unavailable to
                   9   motor carriers and reinforces the conclusion that courts have reached in finding the
                  10   ABC test is preempted. See, e.g., Healey, 821 F.3d at 193 (preemption shown where
                  11   ABC test would “deprive [the motor carrier] of its choice of method of providing for
                  12   delivery services and incentivizing the persons providing those services”).17
                  13         C.     The ABC Test Is Preempted By The FAAAA Through Implied
                  14                Preemption.
                  15         In addition to being expressly preempted by Section 14501(c)(1) of the
                  16   FAAAA, California’s ABC test is impliedly preempted because it “stands as an
                  17   obstacle to the accomplishment and execution of the full purposes and objectives of
                  18   Congress.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 373 (2000);
                  19   Valadez v. CSX Intermodal Terminals, Inc., 2017 WL 1416883, at *10 (N.D. Cal.
                  20   Apr. 10, 2017) (finding California law preempted where it would conflict with
                  21   regulations that “expressly contemplate” the availability of certain terms of the
                  22   lessor-lessee relationship in motor carrier-independent contractor relationships).18
                  23

                  24   included in the final [AB-5] bill, despite [CTA’s] ongoing and intense efforts to
                       secure one”).
                  25   17
                          The Supreme Court has held that a variety of requirements are preempted under
                       the FAAAA or the statute upon which it is modeled, the Federal Aviation Act. See,
                  26   e.g., Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 569 U.S. 641, 649 (2013)
                       (parking requirements preempted); Rowe, 552 U.S. at 372 (requirements imposed on
                  27   shippers that were likely to trickle down to motor carriers preempted); Wolens, 513
                       U.S.  at 228 (consumer fraud act preempted).
                  28   18
                          “[N]either an express pre-emption provision nor a saving clause ‘bar[s] the
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                   1         The “overarching goal” of the FAAAA was “helping ensure transportation
                   2   rates, routes, and services that reflect ‘maximum reliance on competitive market
                   3   forces,’ thereby stimulating ‘efficiency, innovation, and low prices,’ as well as
                   4   ‘variety’ and ‘quality.’” Rowe, 552 U.S. at 371 (quoting Morales, 504 U.S. at 378).
                   5         As with the state law in Rowe, which would “require carriers to offer a system
                   6   of services that the market does not now provide (and which the carriers would
                   7   prefer not to offer),” the ABC test “produces the very effect that the federal law
                   8   sought to avoid, namely, a State’s direct substitution of its own governmental
                   9   commands for ‘competitive market forces’ in determining (to a significant degree)
                  10   the services that motor carriers will provide.” Rowe, 552 U.S. at 372. In other words,
                  11   through the ABC test, the state controls how services are provided, instead of
                  12   allowing that choice to flow from “competitive market forces,” as Congress directed.
                  13         Likewise, allowing a “patchwork” of differing state regulations to flourish runs
                  14   counter to Congress’ goals in enacting the FAAAA and presents “a huge problem for
                  15   national and regional carriers attempting to conduct a standard way of doing
                  16   business.” H.R. Rep. 103-677, at p. 87, 1994 U.S.C.C.A.N. 1715, 1759. Permitting
                  17   California’s unusually restrictive worker classification test to apply to the trucking
                  18   industry could require a motor carrier contracting with a truck driver to classify that
                  19   person as an employee for California’s purposes but as an independent contractor for
                  20   other states’ purposes. “This relatively novel aspect of Prong [B] runs counter to
                  21   Congress’s purpose to avoid ‘a patchwork of state service-determining laws, rules,
                  22   and regulations’ that it determined were better left to the competitive marketplace.”
                  23   Schwann, 813 F.3d at 438 (quoting Rowe, 552 U.S. at 373). Because the ABC test is a
                  24   barrier to Congress’ objectives in enacting the FAAAA, it is impliedly preempted.
                  25

                  26 ordinary working of conflict preemption principles.’” Buckman Co. v. Plaintiffs’
                     Legal Com., 531 U.S. 341, 352 (2001) (quoting Geier v. Am. Honda Motor Co., 529
                  27 U.S. 861, 869 (2000)). Thus, even if the Court does not find that the FAAAA
                     expressly preempts the ABC test, it still may find that the test is preempted because
                  28 it impedes Congress’ objectives.
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                   1   V.    THE DORMANT COMMERCE CLAUSE PREEMPTS THE ABC TEST
                   2         While the Commerce Clause grants Congress the power to “regulate
                   3   Commerce . . . among the several States,” the Dormant Commerce Clause restricts “a
                   4   State from jeopardizing the welfare of the Nation as a whole by placing burdens on
                   5   the flow of commerce across its borders that commerce wholly within those borders
                   6   would not bear.” Am. Trucking Ass’ns, Inc. v. Mich. Pub. Service Comm’n, 545 U.S.
                   7   429, 433 (2005). Under the Dormant Commerce Clause, a law is invalid if “the
                   8   burden imposed on [interstate] commerce is clearly excessive in relation to the
                   9   putative local benefits.” Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970).
                  10         “[T]he familiar test is that of uniformity versus locality: if a case falls within an
                  11   area in commerce thought to demand a uniform national rule, state action is struck
                  12   down, if the activity is one of predominantly local interest, state action is sustained.”
                  13   People v. Zook, 336 U.S. 725, 728 (1949). Given the FAAAA’s explicit goal of
                  14   removing burdensome state regulations on motor carriers, trucking is an area
                  15   “thought” by Congress “to demand a uniform national rule.”
                  16         Here, the ABC test imposes excessive burdens on motor carriers. To comply
                  17   with AB-5, motor carriers must overhaul their business, including abandoning the
                  18   efficient, effective, and federally recognized use of owner-operators to transport the
                  19   nation’s freight. Sometimes, motor carriers will no longer offer the same range of
                  20   services as before to customers seeking to transport cargo into or out of California, or
                  21   charging higher prices to do so. In other cases, motor carriers will be forced to
                  22   abandon the California market entirely—thus introducing the very chilling effect on
                  23   interstate commerce that the FAAAA prevented by prohibiting disparate regulation of
                  24   the industry by different states. See Am. Trucking Ass’ns, Inc. v. Scheiner, 483 U.S.
                  25   266, 286-287 (1987) (finding a “forbidden impact on interstate commerce” where an
                  26   anomalous state trucking regulation “exert[ed] an inexorable hydraulic pressure on
                  27   interstate businesses to ply their trade within the State that enacted the measure rather
                  28   than ‘among the several States’”).
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                   1         AB-5’s numerous exemptions also support preemption under the Dormant
                   2   Commerce Clause. AB-5’s exemptions undercut the putative state interest in an ABC
                   3   test, which “presumptively considers all workers to be employees” unless the three
                   4   prongs are met. Dynamex, 4 Cal.5th at 955 (emphasis added). By exempting so many
                   5   categories of California workers, AB-5 does not actually serve this goal.
                   6         Because AB-5’s exemptions benefit intrastate businesses and professions, the
                   7   statute’s imposition of the ABC test disproportionately burdens interstate businesses.
                   8   Many exemptions are afforded to individuals licensed by the State of California, such
                   9   as doctors, lawyers, and real estate agents. AB-5, § 2 (Lab. Code § 2750.3(b)(1-3) and
                  10   (d)(1)). AB-5 also carves out the construction industry—including “construction
                  11   trucking services”—thus protecting the inherently domestic activity of licensed
                  12   construction contractors. AB-5 does not similarly protect motor carriers engaged in
                  13   interstate business; rather, as Assembly Member Gonzalez’s comments clarify, AB-5
                  14   improperly targets the motor carriers’ reliance on a purported “outdated broker
                  15   model” that depends on owner-operators.
                  16         Thus, by exempting intrastate businesses and applying the more stringent ABC
                  17   test to interstate businesses like motor carriers, AB-5 imposes an excessive and
                  18   disproportionate burden on those businesses. Cf. WSTA, 377 F. Supp. 3d at 1073-1074
                  19   (finding Dynamex’s ABC test permissible under the Commerce Clause because it
                  20   “treat[s] in-state and out-of-state residents equally” by applying the same test to all
                  21   workers operating in the state—unlike AB-5’s version of the test).
                  22         In addition, AB-5 magnifies the ABC test’s burden on interstate commerce far
                  23   beyond the burden inflicted by Dynamex alone. Dynamex applied the ABC test as
                  24   only one of three tests for employment status under California’s wage orders only.
                  25   Significantly, AB-5’s version of the test establishes a single test, unless exempted
                  26   under AB-5, for employment status under the California Labor Code, the wage
                  27   orders and the California Unemployment Insurance Code. AB 5, § 2(a). Thus, AB-
                  28   5’s effects on interstate commerce even more greatly outweigh the putative local
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                   1   benefits of the law.
                   2   VI.   THE REMAINING PRELIMINARY INJUNCTION ARE MET
                   3         A.     Plaintiffs Will Suffer Irreparable Harm If The Court Denies Relief.
                   4         If this Court concludes that Plaintiffs are likely to succeed on one or more of
                   5   their claims, the remaining preliminary injunction factors follow readily. “It is well
                   6   established that the deprivation of constitutional rights ‘unquestionably constitutes
                   7   irreparable injury.’” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)
                   8   (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)). These constitutional violations
                   9   include through the FAAAA, since AB-5 “would cause irreparable injury by
                  10   depriving [motor carriers] of a federally created right to have only one regulator in
                  11   matters pertaining to rates, routes and services.” Trans World Airlines, Inc. v.
                  12   Mattox, 897 F.2d 773, 784 (5th Cir. 1990), aff’d in part, rev’d in part sub nom.,
                  13   Morales, 504 U.S. 374 (1992).
                  14         The harms, however, extend far beyond constitutional violations. Plaintiff and
                  15   owner-operator Thomas Odom describes the loss of his chosen profession, including
                  16   no longer being able to contract with motor carriers “as I have done for decades” and
                  17   “immediate financial harm to me because I will be obligated to continue incurring
                  18   costs directly related to owning, storing, and maintaining my truck but I will not be
                  19   able to use my truck in California to earn a living.” Odom Decl. ¶ 11.
                  20         The actual harms extend to motor carriers too. If they wish to continue offering
                  21   the same services to their customers using only employee drivers, motor carriers must
                  22   acquire trucks, hire and train employees, and establish the administrative infrastructure
                  23   to comply with AB-5. Motor carriers failing to do so face will either cease providing
                  24   the services they have until now provided or face a significant risk of civil and
                  25   criminal liability. See Yadon Decl. ¶¶ 36-40; Stefflre Decl. ¶ 29.
                  26         The Supreme Court and Ninth Circuit recognize this circumstance presents a
                  27   “Hobson’s choice” that necessitates immediate injunctive relief: motor carriers can
                  28   either “continually violate the law and expose themselves to a potentially huge
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                   1   liability; or violate the law once and suffer the injury of obeying the law during the
                   2   pendency of the proceedings and any further review.” Morales, 504 U.S. at 381;
                   3   ATA, 559 F.3d at 1057-1058 (“imminent harm” exists where motor carrier can either
                   4   submit to a constitutional violation or “be forced to incur large costs which . . . will
                   5   disrupt and change the whole nature of its business”). “Therefore, there is a
                   6   likelihood of irreparable damages in this case.” ATA, 559 F.3d at 1059.
                   7          Because of the prospect of these irreparable injuries, the need to “preserve the
                   8   status quo pending a determination of the action on the merits”—the fundamental
                   9   purpose of a preliminary injunction—is strong. Chalk, 840 F.2d at 704.
                  10          B.     The Balance Of The Equities Tips Sharply In Plaintiffs’ Favor.
                  11          The next factor considers “the balance of hardships between the parties.”
                  12   Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1137 (9th Cir. 2011).
                  13          In contrast to Plaintiffs’ many injuries, the State will suffer no harm from a
                  14   preliminary injunction. “Since Congress expressly preempted this area of regulation,
                  15   the states are not injured by the injunction.” Mattox, 897 F.2d at 784; see Valle del
                  16   Sol Inc. v. Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) (“[I]t is clear that it would
                  17   not be equitable . . . to allow the state . . . to violate the requirements of federal
                  18   law.”) (citations omitted). But even absent the constitutional command, the balance
                  19   of harms tips in Plaintiffs’ favor. While the State may cite the supposed harms from
                  20   the misclassification of workers as independent contractors, California can already
                  21   enforce its existing laws and penalize law-breakers through the long-standing test in
                  22   S.G. Borello & Sons, Inc. v. Department of Industrial Relations, 48 Cal.3d 341
                  23   (1989). AB-5 reaffirms that the Borello test remains appropriate for determining
                  24   whether many workers are properly classified, including for professions that fall
                  25   within one of the bill’s numerous carve-outs. See, e.g., AB-5, § 1 (observing that the
                  26   bill “would instead provide that these occupations are governed by Borello”). Thus, a
                  27   preliminary injunction would simply put motor carriers and owner-operators on the
                  28   same footing as the many professions and industries which secured express
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                   1   exemptions in AB-5 from complying with the ABC test.
                   2         The balance of equities also favors litigants who seek only “to preserve, rather
                   3   than alter, the status quo while they litigate the merits of th[eir] action.” Rodde v.
                   4   Bonta, 357 F.3d 988, 999 n.14 (9th Cir. 2004). Granting the relief sought will merely
                   5   maintain the status quo while the case moves forward, which further “strengthens
                   6   [Plaintiffs’] position” in the analysis of the equitable injunction factors. Id.
                   7         C.     Granting Preliminary Injunctive Relief Is In The Public Interest.
                   8         For similar reasons, granting preliminary injunctive relief before AB-5 takes
                   9   effect on January 1, 2020, is plainly in the public interest. When challenging
                  10   government action that affects the exercise of constitutional rights, “[t]he public
                  11   interest . . . tip[s] sharply in favor of enjoining the” law. Klein v. City of San
                  12   Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009) (emphasis added). Here, Plaintiffs
                  13   seek to vindicate their rights under the Constitution. As the Ninth Circuit has
                  14   clarified, “all citizens have a stake in upholding the Constitution” and have “concerns
                  15   [that] are implicated when a constitutional right has been violated.” Preminger v.
                  16   Principi, 422 F.3d 815, 826 (9th Cir. 2005) (emphasis added). Indeed, “Congress has
                  17   declared that it is in the public interest” to avoid having businesses “subjected to the
                  18   demands and criteria of numerous legislatures rather than being required to comply
                  19   only with federal laws and regulations.” Mattox, 897 F.2d at 784. The public interest
                  20   tips sharply in Plaintiffs’ favor. Klein, 584 F.3d at 1208.
                  21   VII. CONCLUSION
                  22         Plaintiffs request that their Motion for Preliminary Injunction be granted.
                  23   DATED: December 2, 2019                  OGLETREE, DEAKINS, NASH, SMOAK &
                                                                STEWART, P.C.
                  24

                  25                                            By: /s/ Alexander M. Chemers
                                                                    Alexander M. Chemers
                  26                                            Attorneys for Plaintiffs RAVINDER SINGH,
                                                                THOMAS ODOM, and CALIFORNIA
                  27                                            TRUCKING ASSOCIATION

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